10/13/22, 10:15 AM                                                  Gmail - E.P. Search Warrant



                                                                                          William Most <williammost@gmail.com>



  E.P. Search Warrant
  William Most <williammost@gmail.com>                                                      Wed, Jan 29, 2020 at 3:59 PM
  To: valenti_lm@jpso.com
  Cc: Amanda Hass <amanda.hass@gmail.com>, "Fitzpatrick III, John E." <fitzpatrick_je@jpso.com>

    Lindsey,

    Thanks for speaking with me just now. You let me know that the search warrant for E.P.'s medical records was executed
    last week, and that JPSO had received our anti-spoliation letter.

    You are going to find out if:

            You can let us know if there are any other search warrants related to E.P. out there;
            Whether you can provide us with the affidavit in support of the E.P. medical record search warrant.

    Thank you,

    William




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